  8:07-cr-00065-JFB-FG3      Doc # 25    Filed: 05/01/07   Page 1 of 1 - Page ID # 34




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )           8:07CR65
                    Plaintiff,                 )
                                               )
      vs.                                      )             ORDER
                                               )
PATRICIA VEGA,                                 )
                                               )
                    Defendant.                 )




      This matter is before the court on the motion of Jim K. McGough, CJA, to withdraw
as counsel for the defendant, Patricia Vega [24]. Since retained counsel, George Siddell
has entered an appearance via an Application for Admission Pro Hac Vice for the
defendant [23], the motion to withdraw [24] is granted. Jim K. McGough shall be deemed
withdrawn as attorney of record and shall forthwith provide George Siddell with the
discovery materials provided the defendant by the government and such other materials
obtained by Mr. McGough which are material to the defendant’s defense.


      IT IS SO ORDERED.
      DATED this 1st day of May, 2007.


                                               BY THE COURT:


                                               s/ F.A. Gossett
                                               United States Magistrate Judge
